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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                     AMARILLO DIVISION

STATE OF TEXAS et al.,

            Plaintiffs,

v.                                                                2:24-CV-86-Z

UNITED STATES OF AMERICA et ai.,

            Defendants.

                                                 ORDER

         Before   the     Court   are   Defendants’   Unopposed     Motion   for   Extension   of Time

(ECF No. 52) and Citizens Defending Freedom’s Applications for Admission Pro Hac Vice

(ECF Nos. 49, 50). They are all GRANTED.

         Shawn M. Flynn and Lindsay R. McKasson (“Applicants”) are attorneys licensed to

practice in the District of Columbia. ECF Nos. 49-2, 50-2. Applicants have read and will comply

with Dondi Properties Corp. v. Commerce Savs. & Loan Ass’n, 121 F.R.D. 284 (N.D. Tex.

1988) (en banc) and the Local Rules. And this Court has already allowed Citizens Defending

Freedom to appear without local counsel. ECF No. 44 at 1.

         Defendants ORDERED to file an “answer, or otherwise respond to Plaintiffs’ Amended

Complaint,” ECF No. 52 at 1, no later than August 5, 2024, see FED. R. Civ. P. 6(b)(1)(A)

(permitting extensions when the request is made before the original time).

         SO ORDERED.

         July /&, 2024                                       ia                    a               ——


                                                         MATTHEW J. KACSMARYK
                                                         UNITED STATES DISTRICT JUDGE
